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                                                                                       Jul 3, 2019
                             UNITED STATES DISTRICT CO URT
                             SOUTHERN DISTRICT O F FLO RIDA
                  19-60190-CR-BLOOM/VALLE
                               Case No.
                                   18 U.S.C.5 1001(a)(2)


  UNITED STATES O F AM ERICA


  V.


  IVETTE DOM ING UEZ,

                      Defendant.
                                           /


                                      INFORMATION

        The United StatesAttofney.charges:

        AtaIItim es relevantto this lnform ation:

               Thedefendant,IVETTE DOMINGUEZ,was employed bythe Unitej states
  Department of Homeland Security, Homeland Security Investipations (''HSI''),as an
  Investigative Assistant.

               As an lnvestigative Assistant, IVETTE DOM ING UEZ'S duties included
  providing technical, adm inistrative, and clerical support to the HSI Special.Agents
                                                                               -
                  '
                                                                               1
  investigatingvariouscriminaloffenses,includingdrugtrasickingandimmigrationlcrimes.
                                                                                       ;
  At various tim es relevant to this Inform ation, DOM INGUEZ w as assigned to HSI's

  Homeàtead Investigative Group (1'HIG'')1where herduties inc'Iuded conducting dytabase
                                                      .

                                                                             '
          .
                                                                                  ..j  .

  and crim inalhistory checks to furtherthe crim inalinvestigations being done by the HIG .
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                                                                                 '
                                                                                 j
                                                                                 1
                                                                                 .



        3. The United States Depadment ofHomeland Security (d1DHS'
                                                                 ')I1was a
  departmentwithinthejurisdictionoftheexecutivebranchoftheGovernmentofthJUnited
  States.

               The DepartmentofHomeland Security,Office ofInspectorGeneral(ddDHS-
  OIG''),and Immigration and Customs Enforcement,Office ofProfessionalResponsibili
                                                                                 ty
  (''ICE-OPR''
             ),were entities within DHS,and thus Were within the jurisdiction of the
  executi
        ve brànch ofthe Governm entofthe United States. Both DHS-O IG and ICE-O PR -
  were involved in investigating allegations 6fm isconductby DHS em ployees.
        5.     On oraboutApril26,2019,in Broward County,in the Southern Districtof

  Florida,in a matterwi
                      thin tie jurisdiction ofthe United States DepartmehtofHdmeland
  Secqrity,a departmentofthe executive branch ofthe Governmentofthe United States,
  the defendant,

                                  IVETTE DOM ING UEZ,

  did knowingly and willfully m ake a false, fictitious, and fraudulent statem ént and

  representation as to a materialfact,in thatthe defendantrepresented to SpecialAgents
                                         .           )        .

  ofDHS-OIG and IC/-OPR thatshe had notalerted a targetabouta steroid investigation
  being conducted by the HIG,had not provided that target any type of advjce and
  informationaboutthesteroid investigation,hadnotwarnedthattargetnottoselljteroids
                                                                          l
  to a perqon who would approach thattarget,and had notasked thattargetto Iie to
  interview ing DHS-O IG and ICE-O PR aoents to protecther,when in truth and in fàc
                                                                                 I t,and

  as the defendantthen and there wellknew ,she had alerted a target about a steroid

  investigation being conducted by the HIG ,had provided thattargetadvice and inform ation
Case 0:19-cr-60190-BB Document 1 Entered on FLSD Docket 07/03/2019 Page 3 of 5




  aboutthe steroid investigation,had warned thattargetnotto sellsteroidsto a personw ho
                                                                               (
  wouldapproachthattarget,andhadaskedthattargettoIietointerviewingDHS-YIG and
                                                                               1
  ICE- O PR agents to protect her, in violation of Title 18? United States Code,1
                                                                                i
                                                                                section

  1001(a)(2).




  A       A F JA O ORSHA N
      NI ED STA E ATTO RNEY

        /

            Q .
  EDW ARD N.STAM M
  ASSISTANT UNITED STATES AU ORNEY
                           UNITED
 Case 0:19-cr-60190-BB Document 1 STATES
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                                           on  CT COURT
                                              FLSD Docket 07/03/2019 Page 4 of 5
                           SOUTHERN DISTRICT OF FLORIDA

UNITED STATES OF AMERICA                                 CASE NO.
                                                            '
                                                                                                                     '
VS.
                                                                               .                        t            j
IVETTE DO M IN G UEZ,                                    C ERTIFICA TE O F TR IA L ATTO RN EY
                              Defendant.
                                                I        Superseding Case Inform ation:
CourtDivision:(selectone)                                New Defendantts)
                                                         N                                   Yes                No
                                                          umberofNew Defendants                                      '
                                                         Totalnum berofcounts
  x F
    Mi
     TaLmi                    w
                              KeIBWest          FTp
          Idoherebycedi
                      fyihat:
                     Ihave carefully considered the allegations ofthe indictmeqt the numberofdefendants,the number
                     ofprobable witnesses and the Iegalcom plexi
                                                               ties ofthe Indlctment/lnformation attached hereto.
          2.
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                    Act,Title 28 U.S.C.Sectlon 3161.
          3.         Iqterpreter:      (YesqrNo)           No
                     LI
                      stIanguage and/ordlalect
          4.         This case willtake         0        daysforthe padiesto try.
          5.         Please check appropriate categoryandtype ofoffense listed below:
                     (Checkonl
                             yone)                                         (Checkonl
                                                                                   yone)
                     0 to 5 days                           X                        Petty
                     6 to 10 days                                                   Minor
                     11to 20 days                                                   Misdem.
                     21to 60 days                                                   Felony               X
                     61daysand over
          6.         Hasthiscase been previousl
                                              yfiled inthis DistrictCourt? (YesorNo)                    No
          Ifyes:
          Judge:                                                    Case No.
          (AttachcopyPfdispositivegrdej
          H
            asa compl
                    alntbeenfiled Inthlsmatter?                     (YesorNo)
          Ifye?:
          Magl strate Case No.
          Related M isc:ilaneous numbers:                                                                            .
          Defendantts)Infederalcustodyasof                      .                                                            '
          Defendantls)instate custodyasof
          Rule 20 from the
          Isthisapotentialdeath penaltycase?(YesorNo)                      M
                                                                           N
                     Dges this case originatè from a m atterpending in the Northern Region ofthe U.S.Attorney's Ofïice
                     prlorto October14,2003?              Yes        x     No
                    '                                                                                                !
          8.         D?es thi
                            s case originate from a matterpending in the CentralRegion ofthe U.S.Attorney's Office
                     prlortoSeptember1,2007?                Yes x          No                                        1
                                                                          ?


                                                                    ED RD N.STAMM
                                                                    ASSISTANT UNITED STATES ATTORNEY
                                                                    Florida BarNo.373826
Tenal
    tySheetts)attached                                                                                          REV 4/8/08
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                             UNITED STATES DISTRICT COURT
                             SO U TH ERN D ISTR ICT OF FL O RID A

                                      PEN ALTY SH EET

  D efendant'sN am e:IV ETTE D O M TN G U EZ



  Count#:1

  M aking False Statem ent

  Title 18.United StatesCo-de. Section 1001(a)(2)

  * M ax.Penalty: 5 Y ears'Im prisonm ent




   *R efers only to possible term ofincarceration,doesnotincludepossible fines,restitution,
            specialassessm ents,parole term s,or forfeitures thatm ay be applicable.
